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13
                              UNITED STATES DISTRICT COURT
14                      FOR THE NORTHERN DISTRICT OF CALIFORNIA
                                   OAKLAND DIVISION
15

16   ABANTE ROOTER AND PLUMBING,                     NO. 4:15-cv-06314-YGR
     INC., MARK HANKINS, and PHILIP J.               PLAINTIFFS’ NOTICE OF MOTION
17   CHARVAT, individually and on behalf of all      AND MEMORANDUM OF POINTS AND
     others similarly situated,                      AUTHORITIES IN SUPPORT OF
18
                                                     MOTION FOR FINAL APPROVAL OF
                          Plaintiffs,
19                                                   CLASS ACTION SETTLEMENT
            v.
20                                                   JURY TRIAL DEMAND
21   ALARM.COM INCORPORATED, and
     ALARM.COM HOLDINGS, INC.,                       Complaint Filed: December 30, 2015
22
                          Defendants.                Honorable Yvonne Gonzalez Rogers
23
                                                     DATE:     August 13, 2019
24                                                   TIME:     2:00 p.m.
                                                     LOCATION: Oakland Courthouse
25
                                                               Courtroom 1 - 4th Floor
26

27
     PLAINTIFFS’ NOTICE OF MOTION AND MEMORANDUM OF POINTS AND
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 1   TO:    THE CLERK OF THE COURT; and

 2   TO:    DEFENDANTS ALARM.COM INCORPORATED, and ALARM.COM
            HOLDINGS, INC., AND THEIR ATTORNEYS OF RECORD:
 3

 4          PLEASE TAKE NOTICE that on August 13, 2019, at 2:00 p.m., in Courtroom 1, 4th
 5   Floor, of the Oakland Courthouse for the U.S. District Court for the Northern District of
 6   California, 1301 Clay Street, Oakland, California, 94612, Plaintiffs will move for final approval
 7   of a class action settlement.
 8          This motion will be based on: this Notice of Motion, the Memorandum of Points and
 9   Authorities, the Declaration of Carla Peak, the records and file in this action, and on such other
10   matter as may be presented before or at the hearing of the motion.
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 1                                         I. INTRODUCTION

 2          Plaintiffs Abante Rooter and Plumbing, Inc., Mark Hankins, and Philip J. Charvat move

 3   for final approval of their settlement with Defendants Alarm.com, Inc. and Alarm.com Holdings,

 4   Inc. (collectively “Alarm.com”) in this class action brought under the Telephone Consumer

 5   Protection Act. Alarm.com has agreed to pay $28,000,000 to establish a non-reversionary

 6   Settlement Fund that will be distributed to Settlement Class Members who filed timely and valid

 7   claims. The amount of the Settlement Fund approximates publicly-traded Alarm.com’s entire net

 8   income in 2017 and exceeds its net income in all preceding years. Alliance has also agreed to

 9   change its practices to increase TCPA awareness among its employees and has stopped using

10   Alliance Security, Inc., the entity that made the telemarketing calls at issue in this case, to market

11   or activate new accounts. All Settlement Class Members will benefit from these changes to

12   Alarm.com’s practices.

13          The Notice Plan approved by the Court has been implemented by the parties and the

14   Court-approved Settlement Administrator, KCC, LLC. The Email Notice and Postcard Notice

15   were successfully delivered to approximately 84.5% of identified Settlement Class Members,

16   and the media program reached at least 74% of Settlement Class Members. The reaction of the

17   Settlement Class has been very positive. There are no objections to the settlement. There are only

18   14 opt outs. To date, 43,292 valid claims have been filed, representing 3.6% of the identified

19   Settlement Class Members. While the distribution of the Settlement Fund will not be finalized

20   until the Court rules on the motion for attorneys’ fees and the Settlement Class Members who

21   submitted deficient forms have had an opportunity to correct the deficiencies, it currently appears

22   that Settlement Class Members who filed valid claims will receive an estimated payment of $235

23   per affected telephone number.1

24

25
     1
26     Because the payments to Settlement Class Members who received calls on three or more
     numbers will constitute taxable income, the parties propose a process for obtaining W-9 forms
27   from those Class Members.
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 1          All of the factors that courts consider support granting final approval of the settlement.
 2   The relief provided by the settlement is significant, particularly given the risk and expense of
 3   continued litigation. The settlement ensures that class members are compensated without delay
 4   and eliminates the risk of loss at trial or on appeal. Having litigated through class certification
 5   and summary judgment and well into trial preparation, the parties are fully apprised of the
 6   strengths and weaknesses of the claims and defenses. Class Counsel have successfully litigated
 7   many TCPA cases and fully support the settlement. And that no class members objected further
 8   supports final approval of the settlement.
 9          Plaintiffs request that the Court certify the Settlement Class for settlement purposes and
10   approve the settlement as fair, reasonable and adequate.
11
                                           II. BACKGROUND
12
     A.     The litigation and settlement.
13
            Plaintiffs described the protracted, hard-fought litigation that led to the class settlement in
14
     their motion for an award of attorneys’ fees. In the more than three years following the filing
15
     their complaint, Plaintiffs propounded discovery on Alarm.com, Alliance Security, Inc., and
16
     Nationwide Alarms, pored through tens of thousands of pages of documents, worked with
17
     experts to analyze calling data, successfully moved for class certification, took fact and expert
18
     depositions, successfully opposed Alarm.com’s motion for summary judgment and motion to
19
     exclude Plaintiffs’ experts, and prepared for trial. See ECF No. 295 at 1-3; ECF No. 296 ¶¶ 2-12.
20
     It was shortly before trial was to begin that the parties negotiated the $28,000,000 settlement,
21
     which will be distributed to Settlement Class Members who submitted timely and valid claims
22
     after payment of Court-approved administrative expenses, attorneys’ fees and expenses, and
23
     service awards. See ECF No. 295 at 4-5; ECF No. 296 ¶ 12. Settlement Class Members were
24
     able to submit a claim for each cellular or residential telephone number on which calls were
25
     claimed to be received. ECF No. 287-1. The settlement also provides for prospective relief.
26
     Alarm.com has agreed that Alliance will no longer be permitted to market or activate new
27
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 1   accounts with Alarm.com products or services. Alarm.com is also implementing changes to its
 2   practices to increase awareness of TCPA compliance, including increased TCPA training for
 3   Alarm.com employees, changes to its contractual arrangement with service providers, and raising
 4   TCPA awareness among its service providers. ECF No. 273-1 § 2.4.
 5   B.     Preliminary approval.
 6          Plaintiffs filed their unopposed motion for preliminary approval of the proposed
 7   Settlement on October 25, 2018. ECF Nos. 272-80. Plaintiffs filed a supplemental memorandum
 8   in support of their motion on November 15 to provide information required by the Court’s newly
 9   updated Procedural Guidance for Class Action Settlements that was not included in their initial
10   motion. ECF Nos. 282-83. Following a hearing on November 27, 2018, Plaintiffs filed a second
11   supplemental memorandum that included additional information about the reach of the proposed
12   notice plan, Class Counsel’s revised litigation costs, and the Addendum to the Settlement
13   Agreement addressing modifications to the plan for distributing the Settlement Fund. ECF Nos.
14   286-88. The Court granted preliminary approval of the proposed Settlement on December 19,
15   2018. ECF No. 291.
16   C.     Notice and claims.
17          KCC implemented the Notice Plan outlined in the Settlement Agreement and approved
18   by the Court. The Email Notices and Postcard Notices successfully reached approximately
19   84.5% of the Settlement Class and the media portion of the Notice Plan reached at least 74% of
20   Settlement Class Members. Peak Decl. ¶¶ 15, 38. The deadline for Settlement Class Members to
21   submit or file a Claim Form was April 16, 2019. KCC received 43,292 valid claim forms. Id.
22   ¶ 30. Another 4,763 Settlement Class Members submitted deficient claim forms and were sent a
23   letter providing them with an opportunity to correct the deficiency. Id. KCC is reviewing an
24   additional 1,781 Claim Forms for timeliness and validity. Id.
25          Settlement Class Members were able to include all cellular and residential telephone
26   numbers on which they received the calls on their claim forms. The payments to Settlement
27
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 1   Class Members who filed valid claims cannot be determined until the deficient claims are
 2   resolved and the Court rules on the motion for attorneys’ fees. If the Court awards the requested
 3   attorneys’ fees, costs, and service awards, a total of $17,215,686.80 will be distributed to
 4   Settlement Class Members who file valid claims. The 43,292 valid Claim Forms include claims
 5   associated with 73,256 telephone numbers. Based on these current valid claims, the estimated
 6   payment per telephone number will be $235. Peak Decl. ¶ 31.
 7   D.     Process for payments that require Settlement Class Members to provide W-9 forms.
 8          Payments to Settlement Class Members of $600 constitute taxable income and will
 9   require receipt of a valid W-9 form before payment can be made. With estimated per-telephone
10   number payments of $235, any Settlement Class Member who received calls on three or more
11   telephone numbers will receive a payment over this threshold. The parties request that the Court
12   approve the following process for obtaining W-9 forms from these Settlement Class Members.
13   KCC will contact the Settlement Class Member twice to obtain a completed and valid W-9 form.
14   If the Settlement Class Member does not respond or does not provide a valid W-9 form, that
15   Class Member’s award will be reduced to $599 (below the taxable income threshold). Any
16   excess amounts will be redistributed to the rest of the Settlement Class pro rata.
17                                   III. ISSUES TO BE DECIDED
18          Whether the settlement should be approved as fair, reasonable, and adequate and whether
19   the Settlement Class should be finally certified for settlement purposes.
20
                                IV. ARGUMENT AND AUTHORITY
21
     A.     The settlement should be approved as fair, reasonable, and adequate.
22
            Settlements are favored, particularly in the class action context. In re Syncor ERISA
23
     Litig., 516 F.3d 1095, 1101 (9th Cir. 2008) (“[T]here is a strong judicial policy that favors
24
     settlements, particularly where complex class action litigation is concerned.”). Courts recognize
25
     that a settlement approval hearing should not “reach any ultimate conclusions on the contested
26
     issues of fact and law which underlie the merits of the dispute, for it is the very uncertainty of
27
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 1   outcome in litigation and avoidance of wasteful and expensive litigation that induce consensual
 2   settlements.” Rodriguez v. West Publ’g Corp., 563 F.3d 948, 964 (9th Cir. 2009).
 3          Proposed class action settlements are not effective unless approved by the Court. Fed. R.
 4   Civ. P. 23(e). When deciding whether to find a class settlement to be fair, reasonable, and
 5   adequate, courts consider (1) the strength of the plaintiff’s case; (2) the risk, expense,
 6   complexity, and likely duration of further litigation; (3) the risk of maintaining class action status
 7   throughout the trial; (4) the amount offered in settlement; (5) the extent of discovery completed
 8   and the stage of the proceedings; (6) the experience and views of counsel; (7) the presence of a
 9   governmental participant; and (8) the reaction of the class members of the proposed settlement.
10   In re Bluetooth Headset Prod. Liab. Litig., 654 F.3d 935, 946 (9th Cir. 2011) (quoting Churchill
11   Village, L.L.C. v. Gen. Elec., 361 F.3d 566, 575 (9th Cir. 2004)).
12          In addition, under the recent amendments to Rule 23, courts consider whether: (A) the
13   class representatives and class counsel have adequately represented the class; (B) the proposal
14   was negotiated at arm’s length; (C) the relief provided for the class is adequate, taking into
15   account: (i) the costs, risks, and delay of trial and appeal; (ii) the effectiveness of any proposed
16   method of distributing relief to the class, including the method of processing class-member
17   claims; (iii) the terms of any proposed award of attorney’s fees, including timing of payment;
18   and (iv) any agreement required to be identified under Rule 23(e)(3); and (D) the proposal treats
19   class members equitably relative to each other. Fed. R. Civ. P. 23(e)(2).
20          All of these factors support a finding that the settlement is fair, reasonable, and adequate.
21
            1.      The relief provided by the settlement taking into account the strength of
22                  Plaintiffs’ case and the risk, cost, and delay of trial and appeal favors
                    approval.
23
            The settlement includes both a monetary component and prospective relief. Alarm.com
24
     has agreed to pay $28 million to settle Plaintiffs’ and Settlement Class Members’ TCPA claims.
25
     After payment of Court-approved settlement administration expenses, attorneys’ fees and
26
     expenses, and service awards to the Plaintiffs, the remainder of the Settlement Fund will be
27
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 1   distributed to the Settlement Class Members who filed timely and valid claim forms. If the Court
 2   approves the requested Settlement Administration Expenses of $1,825,000, Service Awards of
 3   $10,000 to each of the three Class Representatives, requested attorneys’ fees of $8,400,000 and
 4   litigation expenses of $529,313.20, a total of $17,215,686.80 will be distributed to Settlement
 5   Class Members who filed valid claims. The 43,292 valid Claim Forms include claims associated
 6   with 73,256 telephone numbers. Based on these current valid claims, the estimated payment per
 7   telephone number will be $235. Peak Decl. ¶ 31. In addition, the prospective relief—
 8   Alarm.com’s changes to its practices to increase awareness of TCPA compliance and
 9   discontinued use of Alliance—benefits all Settlement Class Members because it will promote
10   TCPA compliance.
11          While Plaintiffs believe they have a strong case for liability, trial is always risky. The
12   evidence supports Alarm.com’s vicarious liability for the calls placed by Alliance and its agents.
13   Plaintiffs successfully moved for class certification and defeated Alarm.com’s summary
14   judgment motion and motion to exclude Plaintiffs’ experts. But Class Counsel know from their
15   experience litigating TCPA cases that proving vicarious liability can be challenging, and recent
16   Ninth Circuit authority confirms these challenges. See ECF No. 296 ¶¶ 13-17; see also
17   Kristensen v. Credit Payment Servs. Inc., 879 F.3d 1010, 1014-15 (9th Cir. 2018) (affirming
18   summary judgment of TCPA claims where plaintiff failed to provide sufficient evidence of
19   vicarious liability); Jones v. Royal Admin. Servs., Inc., 887 F.3d 443, 453 (9th Cir. 2018) (same);
20   Thomas v. Taco Bell Corp., 879 F. Supp. 2d 1079, 1086 (C.D. Cal. 2012) (dismissing TCPA
21   claims because the plaintiff failed to show the defendant controlled franchisee’s telemarketing
22   activity), aff’d, 879 F. App’x 678 (9th Cir. 2014); see also Makaron v. GE Security Mfg. Co., No.
23   CV-14-1274-GW (AGRx), 2015 WL 3526253, at *10 (C.D. Cal. May 18, 2015) (granting
24   defendant’s motion for summary judgment because plaintiff failed to prove manufacturer
25   vicariously liable for dealers’ telemarketing violations); In re Monitronics, 223 F. Supp. 3d 514,
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 1   520 (N.D. W. Va. 2016) (same), aff’d sub nom Hodgin v. UTC Fire & Sec. Ams. Corp., 885 F.3d
 2   243, 252 (4th Cir. 2018).
 3          Although Plaintiffs defeated Alarm.com’s summary judgment motion on the vicarious
 4   liability issue, they would still have needed to convince a jury at trial. Alarm.com also asserted
 5   50 affirmative defenses. See ECF No. 35. Proving Alarm.com’s liability was far from a sure
 6   thing. If Plaintiffs prevailed at trial, they would need to maintain the judgment on appeal.
 7   Clearing these hurdles would be time consuming and expensive. And since the damages
 8   available under the TCPA in a class action with more than a million class members are so
 9   significant—in this case potentially totaling more than $607,996,500 with possible trebling up to
10   $1.8 billion—even success for Plaintiffs posed a substantial risk that the judgment would never
11   be paid. When combined with the usual risks and expense of litigation, and class litigation in
12   particular, a settlement that ensures payments to class members now is far preferable to the
13   possibility of no recovery after the significant delay of proceeding to trial and appeal. See
14   Johnson v. Quantum Learning Network, Inc., No. 15-cv-5013-LHK, 2017 WL 747462, at *1
15   (N.D. Cal. Feb. 27, 2017) (“Courts have noted that uncertainty favors approval of a settlement.”).
16          The Settlement Fund approximates Alarm.com’s entire net income of $29.2 million in
17   2017, and exceeds its annual net income in all preceding years. ECF No. 273 (Terrell Decl.) ¶ 32.
18   The settlement therefore represents a very significant payment for Alarm.com in addition to
19   substantial relief for the Settlement Class. Courts routinely approve settlements of TCPA claims
20   when class members receive similar payments. See In re Monitronics Int’l, Inc., Tel. Consumer
21   Prot. Act Litig., No. 1:13-md-02493-JPB-JES (N.D.W.V. June 12, 2018), ECF No. 1214
22   (approving settlement where class members received approximately $38); Lushe v. Verengo Inc.,
23   No. CV 13-07632 ABR (C.D. Cal. May 2, 2016), ECF Nos. 135-1, 137 (approving settlement
24   where claimants received $52); Rinky Dink, Inc. v. Elec. Merch. Sys., No. C13-1347-JCC (W.D.
25   Wash. April 19, 2016) , Dkt. Nos. 147, 151 (approving settlement where claimants received
26   $97); In re Capital One TCPA Litig., 80 F. Supp. 3d 781, 789 (N.D. Ill. 2015) (granting final
27
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 1   approval where class members were awarded $39.66); Rose v. Bank of Am. Corp., No. 11 Civ.
 2   02390, 12 Civ. 04009, 2014 WL 4273358, at *10 (N.D. Cal. Aug. 29, 2014) (discussing range of
 3   acceptable TCPA settlements and approving settlement that paid $20 to $40 per claimant);
 4   Kolinek v. Walgreen Co., 311 F.R.D. 483, 493–94 (N.D. Ill. 2015) (approving settlement where
 5   class members received payments of $30); Steinfeld v. Discover Fin. Servs., No. C 12-01118,
 6   2014 WL 1309352, at *6 (N.D. Cal. Mar. 10, 2014) (approving settlement with payments
 7   estimated to be between $20 and $40); Markos v. Wells Fargo Bank, N.A., No. 1:15-cv-01156-
 8   LMM, 2017 WL 416425, at *4 (N.D. Ga. Jan. 30, 2017) (approving settlement with payments of
 9   approximately $24 per class member as an “excellent result”).
10
            2.      The extent of discovery, stage of proceedings, and recommendation of
11                  experienced counsel favor approval.

12          Because the settlement was negotiated mere weeks before trial, the parties were armed

13   with a thorough understanding of the strengths and weaknesses of their evidence, witnesses, and

14   legal positions. Discovery was comprehensive and complete, and the Court ruled on motions for

15   class certification, summary judgment, and Daubert exclusions. The parties therefore had

16   sufficient information to make an informed decision about the merits of the settlement. See

17   Slezak v. City of Palo Alto, No. 16-cv-3224-LHK, 2017 WL 2688224, at *4 (N.D. Cal. June 22,

18   2017) (“So long as the parties have ‘sufficient information to make an informed decision about

19   settlement,” this factor will weigh in favor of approval.’” (quoting Linney v. Cellular Alaska

20   P’ship, 151 F.3d 1234, 1239 (9th Cir. 1998))); Bellinghausen v. Tractor Supply Co., 306 F.R.D.

21   245, 257 (N.D. Cal. 2015) (“[T]he court’s focus is on whether the parties carefully investigated

22   the claims before reaching a resolution.”).

23          3.      The Class’s response favors approval.

24          There are no objections to this settlement. Notice of the settlement was distributed by

25   mail and email to 1,027,192 Settlement Class Members and not one objected. Peak Decl. ¶¶ 15,

26   29. A court may appropriately infer that a class settlement is fair, reasonable, and adequate when

27   few (or no) class members object to it. See Tadepalli v. Uber Techs., Inc., No. 15-CV-04348-
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 1   MEJ, 2016 WL 1622881, at *8 (N.D. Cal. Apr. 25, 2016) (observing that “the absence of a large
 2   number of objections to a proposed class action settlement raises a strong presumption that the
 3   terms of a proposed class settlement action are favorable to the class members” (citation
 4   omitted)).
 5          Settlement Class Members instead chose to participate in the settlement, filing 43,292
 6   valid claims (as well as an additional 4,763 deficient claims that may still be corrected, and
 7   another 1,781 claims that are still being processed). Peak Decl. ¶ 30. By contrast, only 15, or
 8   .001% of identifiable Settlement Class Members, chose to opt out. Id. ¶ 28. That 3.6% of
 9   Settlement Class Members chose to participate supports approval. See, e.g., In re Online DVD
10   Rental Antitrust Litig., 779 F.3d 934, 944-45 (9th Cir. 2015) (affirming approval of settlement
11   where 1,183,444 of 35 million class members—less than 3.4%—filed claims); Moore v. Verizon
12   Commc’n Inc., No. C 09-1823 SBA, 2013 WL 4610764, at *8 (N.D. Cal. Aug. 28, 2013)
13   (granting final approval of class action settlement with 3% claims rate); see also In re Anthem,
14   Inc. Data Breach Litig., 327 F.R.D. 299, 320-21 (N.D. Cal. 2018) (finding that low rates of
15   objections and opt-outs are ‘indicia of the approval of the class’” (citation omitted)).
16
            4.      The Rule 23(e)(2) considerations favor approval.
17
            The considerations outlined in the newly revised Rule 23(e)(2) also support final
18
     approval of the settlement. The first consideration is the adequacy of Plaintiffs’ and their
19
     counsel’s representation of the Settlement Class. In granting preliminary approval of the
20
     settlement, the Court considered, among other things, “Plaintiffs’ and Class Counsel’s
21
     representation of the Settlement Class.” ECF No. 291 ¶ 8. The Court also found that Plaintiffs
22
     satisfy Rule 23’s adequacy requirement. Id. ¶ 4.d. Plaintiffs committed significant time to this
23
     case and support the settlement. ECF Nos. 277, 278 & 279 (Plaintiff declarations). Class
24
     Counsel, who have a great deal of experience litigating and settling TCPA class action cases,
25
     also wholeheartedly support the settlement. This consideration therefore supports approval.
26

27
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 1          The second consideration also supports approval because the settlement was negotiated at
 2   arms’ length. The Court is well aware of the hard-fought nature of this litigation, which involved
 3   multiple disputed motions, and the parties approached settlement discussions in the same way.
 4   None of the “red flags” of potential collusion the Ninth Circuit has identified exist in this case.
 5   See In re Bluetooth Headset Products Liab. Litig., 654 F.3d 935, 947 (9th Cir. 2011) (noting that
 6   plaintiffs’ counsel may have allowed pursuit of their own self-interest to infect settlement
 7   negotiations when they receive a disproportionate portion of the settlement, the parties agree to a
 8   “clear sailing” arrangement providing for the payment of attorneys’ fees separate and apart from
 9   class funds, or the parties agree that any fees not awarded will revert to defendants rather than be
10   added to the class fund).
11          The third consideration also supports settlement. As discussed above, the $28 million
12   Settlement Fund combined with Alarm.com’s changes to its practices and discontinued use of
13   Alliance Security is more than adequate to warrant approval, particularly in light of the costs,
14   risks and delay of trial and appeal. The distribution plan ensures that Settlement Class Members
15   will be treated equitably relative to each other. Settlement Class Members were able to submit
16   one claim form for each cellular or residential number on which they received the calls at issue.
17   The claim form merely required the Class Member’s her name, contact information, the
18   telephone number at which he or she received the allegedly unlawful calls, and an affirmation
19   that he or she received the allegedly unlawful calls at the designated telephone number. KCC
20   notified Settlement Class Members who filed deficient forms and gave them an opportunity to
21   correct their claims. Peak Decl. ¶ 30. The Settlement Fund will be distributed to all Settlement
22   Class Members who filed valid claims.
23          Plaintiffs address the reasonableness of the requested attorneys’ fees in the motion filed
24   on March 19, 2019, which was 35 days before the deadline for Settlement Class Members to opt
25   out or object in compliance with the Court’s Procedural Guidance for Class Action Settlements
26   and In re Mercury Interactive Corp., 618 F.3d 988, 994 (9th Cir. 2010). ECF No. 295.
27
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 1          Finally, the fourth consideration—whether the proposed settlement treats class members
 2   equitably relative to each other—also supports approval. The method for distributing the
 3   Settlement Fund to Settlement Class Members is simple, straightforward, and equitable. After
 4   Court-approved deductions for administrative costs, attorneys’ fees and costs, and Service
 5   Awards, the remaining funds will be divided equally among the valid claims submitted for
 6   cellular and residential number on which calls were claimed to be received.
 7   B.     The Settlement Class should be finally certified for settlement purposes.
 8          The Court conditionally certified the Settlement Class for settlement purposes when it
 9   granted preliminary approval of the settlement. The Court concluded that the Settlement Class
10   satisfies numerosity because it has at least 1,215,993 members, satisfies commonality because
11   questions like whether Alarm.com is vicariously liable for calls made on its behalf turn on
12   common evidence, satisfies typicality because Plaintiffs’ and Class Members’ claims arise from
13   the same course of alleged conduct, and satisfies adequacy because Plaintiffs have no conflicts
14   with Class Members, have demonstrated their commitment to the Class, and have retained
15   qualified counsel. In addition, the Court found that predominance was satisfied because common
16   questions, including Alarm.com’s vicarious liability, predominate over individualized issues and
17   classwide resolution is the only practice method of addressing the alleged telemarketing
18   violations at issue. ECF No. 291 ¶¶ 3-4. For the same reasons, the Court should finally certify the
19   Settlement Class for settlement purposes.
20   C.     The notice program complied with Rule 23 and due process.
21
            The settlement notice program approved by the Court and implemented by KCC satisfied
22
     the requirements of Rule 23 and due process. Rule 23 provides that “[t]he court must direct
23
     notice in a reasonable manner to all class members who would be bound by the proposal.” Fed.
24
     R. Civ. P. 23(e)(1). When the class is certified under Rule 23(b)(3), the notice must also be the
25
     “best notice practicable under the circumstances, including individual notice to all members who
26
     can be identified through reasonable effort.” Fed. R. Civ. P. 23(c)(2)(B). To comply with
27
     PLAINTIFFS’ NOTICE OF MOTION AND MEMORANDUM OF POINTS AND
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 1
     constitutional due process standards, the notice must be “reasonably calculated, under all the
 2
     circumstances, to apprise interested parties of the pendency of the action and afford them an
 3
     opportunity to present their objections.” Mullane v. Central Hanover Bank & Trust Co., 339 U.S.
 4
     306, 314 (1950).
 5
             The Court approved the postcard notice in granting preliminary approval of the
 6
     settlement. ECF No. 291 ¶ 12. The notice was “reasonably calculated, under all circumstances, to
 7
     apprise interested parties of the pendency of the action and afford them an opportunity to present
 8
     their objections” and described “the action and the plaintiffs’ rights in it.” Hawthorne v. Umpqua
 9
     Bank, No. 11-cv-6700-JST, 2014 WL 4602572, at *6 (N.D. Cal. Sept. 15, 2014) (quoting
10
     Phillips Petroleum Co. v. Shutts, 472 U.S. 797, 812 (1985)). The notice was written in plain
11
     English and included the dates for class members to object and the final approval hearing. See
12
     Chavez v. PHC Corp., No. 13-cv-01797-LHK, 2015 WL 581382, at *6 (N.D. Cal. Feb. 11, 2015)
13
     (“Notice is satisfactory if it ‘generally describes the terms of the settlement in sufficient detail to
14
     alert those with adverse viewpoints to investigate and to come forward and be heard.’” (citation
15
     omitted)).
16
             KCC mailed the Court-approved Email Notice to 197,406 Settlement Class members and
17
     sent the Court-approved Postcard Notice by U.S. mail to 1,183,991 Settlement Class Members.
18
     Peak Decl. ¶¶ 9, 11. In total, 1,027,192 Email and Postcard Notices were successfully delivered,
19
     representing 84.5% of the identified Settlement Class Members. Id. ¶ 15. KCC also placed the
20
     Court-approved Publication Notice in People and Better Homes and Gardens magazines. Id. ¶¶
21
     18-20. And KCC placed banner advertisements on a variety of websites, including Google
22
     Display Network, Facebook, and YouTube. Id. ¶¶ 21-23. KCC estimates that the media portion
23
     of the notice program reached at least 74% of likely Settlement Class Members. Id. ¶ 38.
24           KCC established a settlement website with detailed information about the settlement. Id.
25   ¶ 24. The website address was printed on all notices. Id. Located at alarmtcpaclassaction.com,
26   the website had 1,970,935 hits as of June 14, 2019. Id. ¶¶ 24-25. The website lists important
27
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 1   dates and class members’ rights and options, includes frequently asked questions and key
 2   documents from the case like the settlement agreement and motion for attorneys’ fees, and
 3   allowed class members to submit an online claim. Id. ¶ 24. The website (and notices) also
 4   provided a toll-free number that class members could call to reach a 24-hour automated phone
 5   system with recorded answers to frequently asked questions. Id. ¶ 26. The toll-free number had
 6   received more than 1,000 calls as of June 14, 2019. Id.
 7
                                           V. CONCLUSION
 8
            Plaintiffs respectfully request that the Court finally certify the Settlement Class and
 9
     approve the settlement as fair, reasonable and adequate.
10
            RESPECTFULLY SUBMITTED AND DATED this 21st day of June, 2019.
11
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     PLAINTIFFS’ NOTICE OF MOTION AND MEMORANDUM OF POINTS AND
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     PLAINTIFFS’ NOTICE OF MOTION AND MEMORANDUM OF POINTS AND
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 1                                     CERTIFICATE OF SERVICE

 2
            I, Beth E. Terrell, hereby certify that on June 21, 2019, I electronically filed the foregoing
 3
     with the Clerk of the Court using the CM/ECF system which will send notification of such filing
 4
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 1        DATED this 21st day of June, 2019.

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     PLAINTIFFS’ NOTICE OF MOTION AND MEMORANDUM OF POINTS AND
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